     Case 2:14-cr-00001-JPJ-PMS     Document 366     Filed 12/08/14   Page 1 of 12
                                    Pageid#: 3271



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )      Case No. 2:14CR00001
                                                 )
v.                                               )      OPINION AND ORDER
                                                 )
DOUGLAS EUGENE STEPHENS and                      )      By: James P. Jones
CECIL A. MCCONNELL, JR.,                         )      United States District Judge
                                                 )
                  Defendants.                    )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Michael A. Bragg, Bragg Law, Abingdon, Virginia, for Defendant
Douglas Eugene Stephens, and Brian J. Beck, Assistant Federal Public Defender,
Abingdon, Virginia, for Defendant Cecil A. McConnell, Jr.

       Defendants Douglas Eugene Stephens and Cecil A. McConnell, Jr., were

convicted by a jury in this court of offenses related to the distribution of controlled

substance analogues, and now jointly move for a new trial pursuant to Federal Rule

of Criminal Procedure 33. The defendants assert that the government violated their

due process rights by failing to disclose evidence regarding the ongoing criminal

conduct of one of the government’s witnesses. See Brady v. Maryland, 373 U.S.

83, 86-88 (1963). They contend that the undisclosed information would have

impeached the credibility of several government witnesses and undermines

confidence in the jury’s guilty verdict.        Because I am persuaded that the

government had no duty to disclose the evidence and that, even if it had such a
   Case 2:14-cr-00001-JPJ-PMS     Document 366      Filed 12/08/14   Page 2 of 12
                                  Pageid#: 3272



duty, the evidence was not material to the outcome of the trial, I will deny the

defendants’ motion.

                                         I.

      The facts relevant to the defendants’ motion are as shown in the record and

in the parties’ submissions.     The case involves a conspiracy of numerous

individuals to distribute controlled substance analogues, specifically synthetic

cannabinoids, from retail establishments located in this judicial district.         On

September 27, 2013, state and federal search warrants were executed at locations

operated by certain of the defendants. These searches yielded large quantities of

synthetic cannabinoids, cash, and other evidence.

      On February 25, 2014, Stephens and McConnell, along with other co-

defendants, were indicted for conspiracy to possess and distribute synthetic

marijuana in violation of the Controlled Substances Analogue Enforcement Act, 21

U.S.C. § 802(32), and other related offenses. Prior to trial, most of the defendants

pleaded guilty pursuant to plea agreements with the government, and only

McConnell and Stephens ultimately proceeded to trial. One of the codefendants,

J.P., pleaded guilty to charges of misbranding in violation of 21 U.S.C. § 331 and

§ 332(a)(2), and conspiracy to commit misbranding in violation of 21 U.S.C.

§ 371. As part of J.P.’s plea agreement, the parties agreed to recommend to the

court a sentence of thirty-six months imprisonment. The plea agreement also


                                        -2-
   Case 2:14-cr-00001-JPJ-PMS      Document 366     Filed 12/08/14   Page 3 of 12
                                   Pageid#: 3273



provided that J.P. would not receive a reduced sentence based on substantial

assistance to the government. J.P.’s wife, L.P., pleaded guilty pursuant to a plea

agreement to a charge of conspiracy to distribute controlled substance analogues in

violation of 21 U.S.C. § 846.

      Prior to Stephens’ and McConnell’s joint trial, the government disclosed to

the defendants voluminous evidence regarding the conspiracy.         The discovery

included a report of a law enforcement interview with J.P. and L.P., during which

they discussed their involvement in the distribution of synthetic marijuana from

their retail store. During the interview, they explained that their main supplier was

their codefendant Emmanuel Vestal, but that they also purchased the substances

from other, unindicted suppliers. Further, the government disclosed various other

interview reports that corroborated J.P.’s and L.P.’s admissions, including that they

received synthetic marijuana from multiple suppliers. Finally, the government

disclosed an email from Detective Richard Stallard of the Southwest Virginia

Drug Task Force confirming that synthetic marijuana was still available for

purchase at J.P.’s store in February 2014, several months after the search warrants

were executed at the store.

      On October 14, 2014, the jury trial for defendants McConnell and Stephens

commenced. J.P. and L.P. testified on behalf of the government, detailing their

involvement in the drug conspiracy and inculpating McConnell and Stephens. In


                                         -3-
   Case 2:14-cr-00001-JPJ-PMS      Document 366     Filed 12/08/14   Page 4 of 12
                                   Pageid#: 3274



particular, they confirmed that McConnell and Stephens had purchased large

amounts of synthetic cannabinoids from Emmanuel Vestal and other suppliers and

held them out to the public for retail sale. Each witness was subject to rigorous

cross-examination regarding their plea agreements and possible incentives to

testify for the prosecution.   J.P. maintained that, because his plea agreement

recommended a minimum sentence, he lacked an incentive to testify in exchange

for leniency, whereas L.P. acknowledged that she was cooperating with the

government in hopes of receiving a reduced sentence. On October 22, 2014, the

jury returned verdicts of guilty against both defendants for conspiracy to distribute

controlled substance analogues, as well as other related offenses.

      On November 4, 2014, defense counsel learned from documents filed with

the court, including a petition to revoke J.P.’s bond and an agreement with the

government to modify his sentence (ECF Nos. 333 and 334), that J.P. had

continued to purchase and sell large quantities of synthetic cannabinoids after his

arrest, up to and during Stephens’ and McConnell’s trial. In response to defense

counsel’s request for more information, the prosecutor advised that prior to trial,

on October 14, 2014, L.P. had met with him and ATF Special Agent Ryan Temm

in preparation for her testimony. During this meeting, she informed the prosecutor

and the agent that she believed that J.P. was continuing to receive shipments of

synthetic drugs from Florida, although she could not provide any other details.


                                         -4-
   Case 2:14-cr-00001-JPJ-PMS        Document 366      Filed 12/08/14   Page 5 of 12
                                     Pageid#: 3275



Special Agent Temm elaborated that he had received information from Detective

Stallard, who would later also testify for the government at trial, that there were

“rumors” in the community that J.P. was continuing to receive shipments of

synthetic drugs. As a result of this information, on October 17, 2014, Special

Agent Temm requested that postal inspectors notify him of any packages sent to

J.P. through the post office in Coeburn, Virginia. None of this information was

disclosed to Stephens’ or McConnell’s defense counsel.

      On October 29, 2014, Special Agent Temm was notified by a U.S. Postal

Inspector that a package addressed to J.P. with a return address in Florida had

arrived at the Coeburn Post Office. A check revealed that the Florida return

address did not exist. The package was opened the next day at a meeting with J.P.,

his attorney, the prosecutor, and federal agents, and found to contain

approximately 1.3 kilograms of synthetic marijuana. J.P. then provided further

details about his continued involvement with the synthetic drug trade, including the

identity of his supplier in Florida.1 He agreed to a revocation of his bond and an

increase in the proposed sentence contained in his plea agreement.

      Based on this information, the defendants contend that the government

deprived them of the opportunity to mount an effective defense at trial by failing to

disclose the following: (1) L.P.’s statement that J.P. was continuing to sell

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         The defendants claim that J.P. met the supplier through Phillip Ison, one of the
government’s witnesses at trial, but do not provide evidence to support this assertion.
                                           -5-
   Case 2:14-cr-00001-JPJ-PMS      Document 366      Filed 12/08/14   Page 6 of 12
                                   Pageid#: 3276



synthetic marijuana; (2) Detective Stallard’s comment to Agent Temm about

rumors of J.P.’s activities; and (3) Agent Temm’s request that postal inspectors

monitor J.P.’s packages. In particular, the defendants claim that disclosure of this

information prior to trial would have enabled them to impeach the credibility of

J.P. as a government witness due to his continued engagement in criminal activity

after his arrest and while testifying during trial. They contend that information

regarding suppliers other than Emmanuel Vestal may have cast doubt on the

government’s theory of the case, which identified Vestal as a main supplier of the

conspiracy. Further, the defendants assert that the information could have been

used to attack the credibility of L.P. and Detective Stallard, who both testified for

the government at trial. Finally, they argue that the information may have enabled

further follow-up investigation, which could have produced further evidence

favorable to the defendants.

                                         II.

      A motion for a new trial may only be granted “if the interest of justice so

requires.” Fed. R. Crim. P. 33(a). A district court “should exercise its discretion to

grant a new trial sparingly.” United States v. Perry, 335 F.3d 316, 320 (4th Cir.

2003) (internal quotations marks and citations omitted).

      Here, the defendants assert that a new trial is required due to the

government’s alleged violation of its disclosure obligations under Brady v.


                                         -6-
   Case 2:14-cr-00001-JPJ-PMS     Document 366    Filed 12/08/14   Page 7 of 12
                                  Pageid#: 3277



Maryland, 373 U.S. 83 (1963). In Brady, the Supreme Court established that ‘“the

suppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.”’ United States v.

Wilson, 624 F.3d 640, 661 (4th Cir. 2010) (quoting Brady, 373 U.S. at 87). The

government’s obligation to disclose includes evidence impeaching witness

credibility, such as agreements between the government and its witnesses. See

United States v. Bagley, 473 U.S. 667, 676 (1985) (“Impeachment evidence,

however, as well as exculpatory evidence, falls within the Brady rule.”) (citing

Giglio v. United States, 405 U.S. 150, 154 (1972)).         However, while the

government must disclose exculpatory evidence, there is “no constitutional

requirement that the prosecution make a complete and detailed accounting to the

defense of all police investigatory work on a case.” Moore v. Illinois, 408 U.S.

786, 795 (1972). In particular, the government has no obligation to disclose

‘“preliminary, challenged, or speculative information”’ to the defendant. United

States v. Agurs, 427 U.S. 97, 110 n.16 (1976) (quoting Giles v. Maryland, 386 U.S.

66, 98 (1972) (Fortas, J., concurring)); Tate v. Wood, 963 F.2d 20, 25 (2d Cir.

1992).

         In order to prove the government violated its Brady obligations, the

defendant has the burden of showing that the undisclosed evidence was: “(1)


                                       -7-
   Case 2:14-cr-00001-JPJ-PMS      Document 366     Filed 12/08/14   Page 8 of 12
                                   Pageid#: 3278



favorable to him either because it is exculpatory, or because it is impeaching; (2)

material to the defense, i.e., prejudice must have ensued; and (3) that the

prosecution had materials and failed to disclose them.” Wilson, 624 F.3d at 661

(internal quotation marks omitted). Evidence is considered favorable if, when

‘“disclosed and used effectively’” by the defense, it ‘“may make the difference

between conviction and acquittal.’”      Id. (quoting Bagley, 473 U.S. at 676).

Evidence is material when its cumulative effect is such that “there is a reasonable

probability that, had the evidence been disclosed to the defense, the result of the

proceeding would have been different.” Kyles v. Whitley, 514 U.S. 419, 433

(1995) (internal quotation marks and citation omitted). A reasonable probability

does not mean that the “defendant would more likely than not have received a

different verdict with the evidence,” but rather that the absence of the evidence was

sufficient to “undermine[] confidence” in the outcome.         Id. at 434 (internal

quotation marks and citation omitted). Regarding impeachment evidence, the

Fourth Circuit has emphasized that “when the reliability of a given witness may

well be determinative of guilt or innocence, nondisclosure of evidence affecting

credibility” is material and falls within the Brady rule. United States v. Ellis, 121

F.3d 908, 917 (4th Cir. 1997) (internal quotation marks and citation omitted).

      I conclude that the undisclosed information in this case does not fall within

the scope of Brady’s requirements for several reasons. First, the information


                                         -8-
   Case 2:14-cr-00001-JPJ-PMS          Document 366        Filed 12/08/14     Page 9 of 12
                                       Pageid#: 3279



regarding J.P.’s continued criminal activities was speculative and preliminary at

the time of trial, and the government therefore had no obligation to disclose it. See

Agurs, 427 U.S. at 110 n.16; Tate, 963 F.2d at 25. Although L.P. claimed that J.P.

was continuing to receive shipments of synthetic marijuana from Florida at the

time of trial, she could not name the source of the drugs or provide any other

concrete information. Similarly, Detective Stallard’s comments were based on

unconfirmed rumors within the community. These suspicions were not confirmed

until receipt of the package containing synthetic marijuana at the post office on

October 29, 2014, after the trial had concluded. Without more, the information

amounted to an unsubstantiated hunch that required greater investigation to

confirm. 2

       Second, it is questionable whether the evidence could even be considered

favorable to the defendants, given that its value for impeachment purposes was

tenuous. Although the defendants claim that the evidence would have reflected

poorly on the credibility of government witnesses L.P. and Detective Stallard, they

offer little explanation of how allegations of criminal activity by J.P. would reflect

poorly on these other witnesses who were not themselves accused of any

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          The defendants’ reliance on United States v. Veras, 51 F.3d 1365 (7th Cir. 1995), is
unpersuasive. In that case, disclosure of accusations against a testifying officer was required,
given that the accusations were investigated for more than two years and had enough supporting
evidence to support recusal from the case by the officer’s employing police department. Id. at
1374-75. Here, by contrast, the information was essentially unverified rumors that were not
substantiated until after the trial had concluded.


                                              -9-
  Case 2:14-cr-00001-JPJ-PMS      Document 366     Filed 12/08/14   Page 10 of 12
                                  Pageid#: 3280



misconduct. The evidence’s impeachment value against J.P. as a witness would

have also been limited, given that he did not deny selling synthetic drugs, and there

was ample evidence presented at trial of his involvement in the conspiracy,

including conduct occurring months after search warrants were served on his

business and evidence seized. See McHone v. Polk, 392 F.3d 691, 699-700 (4th

Cir. 2004) (noting that, where witness’s pretrial statements did not contradict

testimony and evidence presented at trial, impeachment value of statements was

limited).

      Further, even if J.P.’s continued involvement in the conspiracy had come to

light at trial, it is difficult to imagine how this might have helped the defendants’

case. The defendants claim that the undisclosed information could have been used

to prove that J.P. was purchasing drugs from another source besides Vestal, thus

casting doubt on the government’s theory of the conspiracy, in which Vestal was a

central figure. However, the defendants received abundant evidence prior to trial

that there were multiple sources of drugs for the conspiracy, including admissions

by J.P. and L.P. in their interviews with law enforcement officials. Moreover, the

defendants themselves did not deny the existence of a conspiracy at trial, but

instead attempted to minimize their involvement — Stephens by claiming that he

withdrew from the conspiracy after an argument with Vestal, and McConnell by

claiming that his son operated the store and thus bore the responsibility.          In


                                        -10-
  Case 2:14-cr-00001-JPJ-PMS      Document 366     Filed 12/08/14   Page 11 of 12
                                  Pageid#: 3281



addition, the defendants argued that their products were not sold for human

consumption and that they did not meet the statutory definition of controlled

substance analogues.    None of these defenses would have been bolstered by

evidence of J.P.’s continued criminality.

       Finally, the information had no chance of affecting the outcome of the trial

in light of the overwhelming evidence of the defendants’ guilt, and was therefore

not material.   Even if the defendants had been successful in impeaching the

credibility of J.P., L.P., and Detective Stallard with the undisclosed evidence, the

testimony of these witnesses was corroborated by extensive testimonial, video, and

documentary evidence presented over the course of a multi-day trial. Therefore,

the witnesses’ testimony was cumulative, and the impact of the undisclosed

evidence would have been marginal at best. Ellis, 121 F.3d at 918 (noting that, in

determining materiality, court will not “ignore other evidence presented at trial in

determining [its] confidence in the outcome,” and will instead “evaluate the whole

case, taking into account the effect that the suppressed evidence” would have had

at trial); cf. United States v. Amiel, 95 F.3d 135, 145 (1996) (noting that

impeachment evidence is material if “the witness whose testimony is attacked

supplied the only evidence linking the defendants to the crime, or where the likely

impact on the witness’s credibility would have undermined a critical element of the

prosecution’s case” (internal quotation marks and citation omitted)). Given the


                                        -11-
  Case 2:14-cr-00001-JPJ-PMS     Document 366       Filed 12/08/14   Page 12 of 12
                                 Pageid#: 3282



strength of the government’s case, the undisclosed evidence fails “to put the whole

case in such a different light as to undermine confidence in the verdict.” Kyles,

514 U.S. at 435.

        For these reasons, it is ORDERED that the defendants’ Motion for a New

Trial (ECF Nos. 336 & 337) is DENIED.



                                              ENTER: December 8, 2015

                                              /s/ James P. Jones
                                              United States District Judge




                                       -12-
